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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9        NORTHWEST ENVIRONMENTAL                           CASE NO. C16-1866-JCC
          ADVOCATES,
10                                                          ORDER DENYING MOTION TO
11                              Plaintiff,                  INTERVENE
                         v.
12
          UNITED STATES DEPARTMENT OF
13        COMMERCE, et al.,
14                              Defendants.
15

16             This matter comes before the Court on the Washington State Farm Bureau Federation’s
17   (“WFB”) and the Washington Cattlemen’s Association’s (“WCA”) motion to intervene (Dkt.
18   No. 67). Having thoroughly considered the parties’ briefing and the relevant record, the Court
19   finds oral argument unnecessary and hereby DENIES the motion for the reasons explained
20   herein.
21   I.        BACKGROUND
22             WFB and WCA (collectively “Proposed Intervenors”) seek to join Defendants—the U.S.
23   Department of Commerce (“Commerce”), the National Oceanic and Atmospheric Administration
24   (“NOAA”), and the Environmental Protection Agency (“EPA”) (collectively “Federal
25   Agencies”); and the existing intervenor Washington state—in this environmental suit. (Dkt. No.
26   67.) Proposed Intervenors move to intervene either as of right or permissively under Federal

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 1   Rule of Civil Procedure 24. (Dkt. No. 67 at 3–11.)

 2           Plaintiff Northwest Environmental Advocates (“NWEA”) brings this Administrative

 3   Procedure Act (“APA”) suit asserting that its members have been harmed by Federal Agencies’

 4   actions or inactions under the Clean Water Act (“CWA”) and the Coastal Zone Act

 5   Reauthorization Amendments (“CZARA”), the latter of which represents a portion of the Coastal

 6   Zone Management Act (“CZMA”). (Dkt. No. 74 at 1–2.) NWEA also brings an Endangered

 7   Species Act (“ESA”) citizen suit, alleging that Federal Agencies have unlawfully failed to

 8   consult on the EPA’s approvals and funding of Washington’s Nonpoint Source Pollution
 9   Management Programs. (Id.) This Court previously articulated relevant background information
10   and summarized the associated statutory schemes in its order granting in part and denying in part
11   Defendants’ motion to dismiss, and will not repeat that information here. (Dkt. No. 39.)
12           Proposed Intervenors claim that, should NWEA prevail, the farmers and ranchers they
13   represent will be directly affected by a loss of CZMA and CWA grant funds that support
14   Washington’s nonpoint source pollution programs and the development of best management
15   practices (“BMPs”), and by regulatory costs that may arise from a finding that the EPA
16   arbitrarily approved Washington’s CWA Section 319 Nonpoint Management Program. (Dkt. No.
17   67 at 6–7, 9.) Proposed Intervenors also allege that they would be harmed by additional layers of
18   regulatory approval resulting from a court order compelling Federal Agencies to engage in ESA

19   consultation. (Id. at 6–7.) The Court previously granted Washington’s unopposed motion to

20   intervene on behalf of the Federal Agency defendants (Dkt. No. 79). Federal Agencies oppose

21   WFB’s and WCA’s intervention (Dkt. No. 80).

22   II.     DISCUSSION

23           A.      Intervention as of Right

24           Absent an unconditional right to intervene by statute, a party seeking to intervene as a

25   matter of right must: (1) timely move to intervene, (2) have a significantly protectable interest

26   relating to the property or transaction that is the subject of the action, (3) be situated such that the


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 1   disposition of the action may impair or impede the party’s ability to protect that interest, and (4)

 2   not be adequately represented by existing parties. Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th

 3   Cir. 2003); Fed. R. Civ. P. 24(a)(2). The burden is on the intervenors to demonstrate all four

 4   prongs. United States v. City of Los Angeles, 288 F.3d 391, 397 (9th Cir. 2002).

 5           “An applicant has a ‘significant protectable interest’ in an action if (1) it asserts an

 6   interest that is protected under some law, and (2) there is a ‘relationship’ between its legally

 7   protected interest and the plaintiff’s claims.” State ex rel. Lockyer v. United States, 450 F.3d 436,

 8   441 (9th Cir. 2006) (quoting Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998)). The
 9   Supreme Court has yet to clearly define an interest that satisfies Rule 24(a)(2). See Arakaki, 324
10   F.3d at 1084 (stating that the phrase “significantly protectable” is not a term of art in law and
11   “sufficient room for disagreement exists” over its meaning). The Ninth Circuit views the
12   “interest test” as “primarily a practical guide to disposing of lawsuits by involving as many
13   apparently concerned persons as is compatible with efficiency and due process.” In re Estate of
14   Ferdinand E. Marcos Human Rights Litig., 536 F.3d 980, 985 (9th Cir. 2008) (internal quotes
15   omitted). When injunctive relief is sought that will have “direct, immediate, and harmful effects
16   upon a third party’s legally protectable interests, that party satisfies the ‘interest’ test of Fed. R.
17   Civ. P. 24(a)(2).” Forest Conservation Council v. U.S. Forest Serv., 66 F.3d 1489, 1494 (9th Cir.
18   1995). Whether resolution of an action will impair or impede a proposed intervenor’s ability to

19   safeguard their protectable interest is considered as “a practical matter.” Smith v. Los Angeles

20   Unified Sch. Dist., 830 F.3d 843, 862 (9th Cir. 2016). However, intervention is improper where

21   intervenors have an “alternative forum where they can mount a robust defense.” Lockyer, 450

22   F.3d at 442.

23           To determine if a proposed intervenor is adequately represented, the Court considers “(1)

24   whether the interest of a present party is such that it will undoubtedly make all of a proposed

25   intervenor’s arguments; (2) whether the present party is capable and willing to make such

26   arguments; and (3) whether a proposed intervenor would offer any necessary elements to the


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 1   proceeding that other parties would neglect.” Arakaki, 324 F.3d at 1086. The burden on proposed

 2   intervenors to show that the current representation is inadequate normally “is minimal, and

 3   would be satisfied if they could demonstrate that representation of their interests ‘may be’

 4   inadequate.” Id. (quoting Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972)). But

 5   when the would-be intervenor shares the same interest as a government entity party, absent a

 6   “very compelling showing to the contrary,” a presumption that the government entity adequately

 7   represents the intervenor applies. Arakaki, 324 F.3d at 1086. This presumption can be overcome

 8   if the intervenor makes a compelling showing of distinct “parochial interests.” Citizens for
 9   Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 899 (9th Cir. 2011).
10          Proposed Intervenors timely moved to intervene. The remaining factors, by claim, 1 are
11   discussed below.

12                  1.      Claims #2–3: 2 Failure to Withhold Required Amounts From Washington’s
                            CWA Assistance Grants and Coastal Assistance Grants
13
            Proposed Intervenors allege both general and specific interests in NWEA’s procedural
14
     claims. Their general allegation—that defunding Washington’s CZARA Coastline Nonpoint
15
     Pollution Management Program and its 2015 CWA Nonpoint Program “will directly impact . . .
16
     their members’ agricultural and livestock operations”—is unpersuasive for its lack of specificity.
17
     (Dkt. Nos. 67 at 6–7, 67-5 at 5.)
18
            As to a specific interest, Proposed Intervenors assert that they receive CWA Section 319
19
     funds to mitigate their nonpoint pollution sources, and that the loss of these funds will
20
     detrimentally affect programs in which their members are directly involved. (Dkt. No. 67 at 2, 6–
21
     7.) According to Proposed Intervenors, these federal funds—though initially distributed to
22

23          1
              Motions to intervene may be entertained on a claim-by-claim basis. See United States ex
     rel. Voss v. Monaco Enters., No. 2:12-CV-0046-LRS, slip op. at 7–8 (E.D. Wash. July 1, 2016).
24
            2
             The Court previously dismissed NWEA’s Claim #1 (failure to render a final decision on
25   Washington’s Coastal Nonpoint Program) and fourth sub-claim of Claim #6 (failure to consult
     on NOAA’s approval of full amount of Coastal Assistance Grants, despite a lack of an
26   approvable Coastal Nonpoint Program). (Dkt. No. 39 at 10, 14.)

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 1   Washington’s Department of Ecology (“Ecology”)—are subsequently distributed to a “variety of

 2   municipalities . . . and other organizations” to support a network of water quality programs that

 3   depend on execution by their members. 3 (Dkt. Nos. 67-5 at 2–5, 67-4 at 2–3.) Proposed

 4   Intervenors assert these programs offer “educational outreach,” “review and certification of

 5   farming practices,” “technical … and financial assistance,” “cost-share practices such as riparian

 6   planting,” and “training.” (Dkt. Nos. 67 at 7, 83 at 5.) According to Proposed Intervenors,

 7   Farmed Smart Sustainable Agricultural Certification is one example of a CWA Section 319

 8   program reliant on the grants at issue. (Dkt. No. 67-4 at 3.) Another is the Conservation Reserve
 9   Enhancement Program, which is funded in part by Section 319 grants and pays WFB member-
10   landowners “rent” to plant shrubs and “improve stream conditions.” (Id. at 3–4.) Given the ways
11   their members directly participate in the implementation of Washington’s federal CWA and
12   CZMA funds, Proposed Intervenors argue that they maintain “a direct economic interest and
13   legal stake” in the outcome of this suit. (Dkt. No. 67-5 at 2–3.)
14          Federal Agencies argue that Proposed Intervenors’ interests would not be practically
15   impaired or impeded by NWEA’s action “because their interests . . . could be (if at all) only
16   indirectly affected by the outcome of this case based on actions the State of Washington may or
17   may not take.” (Dkt. No. 80 at 4.) The Court disagrees. Though Proposed Intervenors’ interests
18   depend on Ecology’s initial receipt of federal funds, Federal Agencies concede that Proposed

19   Intervenors “are precisely the types of entities who are eligible to receive funding to implement

20   the State’s nonpoint source control program[s] . . . funded in part by federal grants under the

21   CZMA and CWA.” (Dkt. No. 80 at 9.)

22

23          3
              Federal grants are distributed to organizations like WFB and WCA through Ecology’s
24   policy of “generally defer[ing]” the implementation of programs designed to address specific
     categories of nonpoint source pollution. (Dkt. No. 83 at 4–5.) The State’s Water Quality and
25   Advisory Committee, which WFB co-chairs with Ecology and in which WCA sits as a member,
     is responsible for implementing control programs for the agricultural category of nonpoint source
26   pollution. (Dkt. No. 83 at 3–4.)

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 1           In light of the structure with which Ecology administers CZMA and CWA grants,

 2   Proposed Intervenors’ fear—that injunctive relief in favor of NWEA will have a “direct,

 3   immediate, and harmful effect” upon their interests—is reasonable. See Forest Conservation

 4   Council, 66 F.3d at 1494. Proposed Intervenors provide specific, concrete examples of programs

 5   that directly affect their members; contextualize their participation in Ecology’s practice of

 6   category-specific deferment; and sufficiently illustrate how resolution of the matter “may as a

 7   practical matter impair or impede their ability to safeguard their protectable interest.” Smith, 830

 8   F.3d at 862.
 9           However, Proposed Intervenors’ interest in Claims #2–3 is wholly eclipsed by
10   Washington’s identical interest in ensuring the grants continue. “The most important factor to
11   determine whether a proposed intervenor is adequately represented by a present party to the
12   action is how the intervenor’s interest compares with the interest of existing parties.” Perry v.
13   Proposition 8 Official Proponents, 587 F.3d 947, 950–51 (9th Cir. 2009) (internal quotes and
14   citations omitted). Here, Washington has intervened to defend the validity of its nonpoint
15   pollution control program, as well as its receipt of “the funding Ecology relies on to implement
16   Washington’s nonpoint pollution control programs.” (Dkt. No. 66 at 7.) Any parochial or
17   specialized knowledge Proposed Intervenors would offer in the adjudication of Claims #2–3, i.e.,
18   their “key, unique perspectives in how guidance should be developed to improve water quality

19   from agricultural runoff,” do not rebut Washington’s comparable (and likely superior) Ecology-

20   related expertise. (Dkt. No. 83 at 4); see Prete v. Bradbury, 438 F.3d 949, 958–59 (9th Cir. 2006)

21   (finding “specialized knowledge” by proposed intervenor insufficient to show inadequate

22   representation where there was “no evidence to support their speculation that the Secretary of

23   State lacks comparable expertise”); see also City of Los Angeles, 288 F.3d at 402–03 (holding

24   that “mere[] differences in [litigation] strategy” are insufficient grounds to “justify intervention

25   as a matter of right”).

26           The Court DENIES Proposed Intervenors’ motion to intervene as of right on Claims #2–3.


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 1                  2.      Claims #4–5: Approval of Washington’s 2015 Update to its CWA
                            Nonpoint Program and Satisfactory Progress Determinations for
 2                          Washington’s CWA Nonpoint Program
 3          NWEA asks the Court to find EPA arbitrarily approved Washington’s CWA Section 319
 4   Nonpoint Management Program and arbitrarily granted the State funds based off of an
 5   unjustified “satisfactory progress” finding. (Dkt. No. 74 at 29–32.) Proposed Intervenors allege
 6   that if NWEA prevails on Claims #4–5, it “could mean that certain buffers and other
 7   management practices used by [Proposed Intervenors] to protect water quality are inadequate to
 8   comply with the law, would diminish the benefit of [Proposed Intervenors’] participation in
 9   TMDL planning, [and] could increase costs.” (Dkt. No. 67 at 9) (emphasis added). Proposed
10   Intervenors further allege that because they are “neck deep in helping to develop those measures”
11   and are “already directly involved in developing the agricultural measures being challenged as
12   insufficient to justify further program defunding,” Federal Agencies are “plainly wrong” for
13   challenging their interest in ensuring that Ecology’s program is not invalidated. (Dkt. No. 83 at
14   5–6.) The Court does not agree.
15          Proposed Intervenors’ interest “falls far short of the ‘direct, non-contingent, substantial
16   and legally protectable’ interest required for intervention as a matter of right.” Southern
17   California Edison Co. v. Lynch, 307 F.3d 794, 803 (9th Cir. 2002) (quoting Dilks v. Aloha
18   Airlines, 642 F.2d 1155, 1157 (9th Cir. 1981)). This is particularly true in this case, where the
19   “special solicitude” afforded to Plaintiff’s interest in Alaska Center for the Environment v.
20   Browner would not apply to Proposed Intervenors. 20 F.3d 981, 984 (9th Cir. 1994). Here,
21   Proposed Intervenors bring suit not to “protect the public health or welfare, enhance the quality of
22   water, and serve the purposes of [the CWA],” § 1313(c)(2)(A), but to protect their interest in “viable,
23   economic management of their farms and ranches.” (Dkt. Nos. 67 at 6, 74 at 6–7). 4
24
            4
              Furthermore, intervention is improper in that Proposed Intervenors may defend their
25   operational reliance on existing BMPs in an alternate forum when it is actually and practically
     impaired (e.g., during the notice-and-comment rulemaking period that may result following a holding
26   on NWEA’s behalf). See Lockyer, 450 F.3d at 442.

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 1          In addition, existing parties adequately represent Proposed Intervenors’ interests in these

 2   claims. If NWEA succeeds, it is Washington, not Proposed Intervenors, who will be unable to

 3   rely on Federal Agencies’ prior approval of its CWA Section 319 Nonpoint Program. (Dkt. No.

 4   66 at 5.) Proposed Intervenors would differentiate their “ultimate objective[]” from Federal

 5   Agencies’ by the fact that Federal Agencies do not participate in the Advisory Committee tasked

 6   with creating the programs at issue in NWEA’s claims. (Dkt. No. 83 at 6.) However, Ecology

 7   does, and mere committee membership is not a parochial interest compelling enough to rebut the

 8   presumption that existing government entities will adequately represent their shared “ultimate
 9   objective: that the Federal Agencies’ determinations be upheld under the relevant statutes.” (Dkt.
10   Nos. 80 at 6, 83 at 8); see Citizens for Balanced Use, 647 F.3d at 899. Insofar as Proposed
11   Intervenors’ interests relate to those of existing parties’, the Court finds that they are neither
12   procedurally nor substantively “parochial” in any distinguishable sense, but the same. Citizens
13   for Balanced Use, 647 F.3d at 899.
14          The Court DENIES Proposed Intervenors’ motion to intervene as of right on Claims #4–5.
15                  3.      Claim #6: Failure to Engage in ESA Section 7 Consultation

16          Proposed Intervenors’ interest in NWEA’s ESA action lies in potential costs saved by

17   avoiding an additional layer of federal regulatory approval. (Dkt. No. 67 at 6, 7.) The Court

18   declines to find a significantly protectable interest here, as Proposed Intervenors fail to allege a

19   relationship between their interest and Claim #6 that is more than theoretical. See Lynch, 307

20   F.3d at 803 (denying intervention to an applicant whose “undifferentiated, generalized interest in

21   the outcome of an ongoing action” was “too porous a foundation on which to premise

22   intervention as of right”) (internal quotes and citations omitted). Further, Proposed Intervenors

23   do not purport to bring any necessary or novel elements to the adjudication of this procedural

24   claim, and fail to illustrate how the Court’s holding on this matter would impact them. Proposed

25   Intervenors fail to carry their burden. Arakaki, 324 F.3d at 1083.

26          The Court DENIES Proposed Intervenors’ motion to intervene as of right on Claim #6.


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 1          B.      Permissive Intervention

 2          An applicant seeking permissive intervention must prove three threshold requirements:

 3   (1) it shares common questions of law or fact with the main action; (2) its motion is timely, and

 4   (3) a court has an independent basis for jurisdiction over the applicant’s claims. Donnelly, 159

 5   F.3d at 412. But once these conditions for permissive intervention are met, intervention rests in

 6   the sound discretion of the Court. Id. In exercising its discretion, the Court must consider

 7   whether intervention will unduly delay the main action or will unfairly prejudice the existing

 8   parties. See Fed. R. Civ. P. 24(b)(2). The Court may also consider “whether the intervenors’
 9   interests are adequately represented by other parties, whether intervention will prolong or unduly
10   delay the litigation, and whether parties seeking intervention will significantly contribute to full
11   development of the underlying factual issues in the suit.” Spangler v. Pasadena City Board of
12   Education, 552 F.2d 1326, 1329 (9th Cir. 1977) (internal citations omitted). Even if Proposed
13   Intervenors satisfy the threshold requirements, the Court exercises its discretion to deny
14   permissive intervention. Existing parties will adequately represent the interests of Proposed
15   Intervenors in Claims #2–3, Proposed Intervenors have failed to plead protectable interests for
16   Claims #4–6, and further intervention would be likely to cause undue delay in the litigation.
17          The Court DENIES Proposed Intervenors’ motion to permissively intervene on Claims #2–6.
18   III.   CONCLUSION

19          For the foregoing reasons, Proposed Intervenors’ motion to intervene (Dkt. No. 67) is

20   DENIED.

21          DATED this 7th day of March 2018.




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                                                           John C. Coughenour
25                                                         UNITED STATES DISTRICT JUDGE
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